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AO 91 (Rev, 11/11) Criminal Complaint


                                     United States District Court Fy LED
                                                                for the

                                                    Northern District of California                       AUG 30 2019
                  United States of America
                                                                                                         SUSAN Y. SOOMG
                                                                                                     CLERK, U.S. DISTRiCTXpUPT
                               V.
                                                                                                   NORTH DISTRICT OF C,T^
                JOSEPH ALBERT COREY
                                                                          Case No. 3 *1 g              71405



                          Defendant(s)


                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     April 3, 2019              in the county of           San Francisco          in the

     Northern          District of            California       , the defendant(s) violated:

             Code Section                                                    Offense Description
18 U.S.C. § 1341                                Mail Fraud


Maximum Penalties:
20 years Imprisonment
3 years supervised release
$250,000 fine
$100 special assessment


         This criminal complaint is based on these facts:

See attached affidavit of Special Agent Sarah Bak of the Federal Bureau of Investigation.




         •   Continued on the attached sheet.



  Approved as to                                                                              Complainant's signature
                               l^SA Kiriic Modeans
                                                                                       Sarah Bak, FBI Special Agent
                                                                                               Printed name and title


Sworn to before me and signed in my presence.


Date:             08/29/2019
                                                                                                 Judge's signal! e
City and state:                         San Francisco, OA                     Hon. Thomas S. Hixson, U.S. Magistjfete Judge
                                                                                               Printed name and title        A
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